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 8
 9                     IN THE UNITED STATES DISTRICT COURT
10                   FOR THE SOUTHERN DISTRICT OF CALIFORNIA
11   VIRGINIA DUNCAN, et al.,                    Case No: 17-cv-1017-BEN-JLB
12
                                Plaintiffs,      MEMORANDUM OF POINTS AND
13                                               AUTHORITIES IN SUPPORT OF
                         v.                      PLAINTIFFS’ EX PARTE
14                                               APPLICATION FOR ORDER
     XAVIER BECERRA, in his official             EXTENDING PAGE LIMITATION
15   capacity as Attorney General of the State
16   of California,

17                              Defendant.
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                                      1
                     MEMORANDUM OF POINTS AND AUTHORITIES
                                                                               17cv1017
Case 3:17-cv-01017-BEN-JLB Document 131-1 Filed 12/01/22 PageID.16899 Page 2 of 4



 1                                      INTRODUCTION
 2          Plaintiffs seek leave to file a longer brief than is ordinarily authorized by Local
 3   Civil Rule 7.1(h). Plaintiffs bring this request ex parte because they require more than
 4   25 pages to address the sheer volume of issues that the State raised in its 63-page
 5   supplemental brief, and there is not enough time to bring a properly noticed motion
 6   since the Court ordered Plaintiffs to file their supplemental brief just 21 days after the
 7   State filed its brief.
 8                                        ARGUMENT
 9   I.     GOOD CAUSE EXISTS TO EXTEND THE PAGE LIMITATION
10          Ex Parte relief is appropriate if the moving party seeks relief that cannot be
11   addressed by a regularly noticed motion and will face prejudice if their application is
12   denied, provided that the party is without fault in creating the problem at issue.
13   Mendez v. LoanMe, Inc., No. 20-cv-00002, 2020 U.S. Dist. LEXIS 215405 (S.D. Cal.
14   Nov. 17, 2020).
15          Under Local Rule 7.1(h), all briefs in support of or opposition to a motion are
16   limited to 25 pages unless leave of the judge who will hear the motion is sought.
17   Because the State filed a 63-page supplemental brief, Plaintiffs cannot adequately
18   address all the issues and evidence the State’s brief raises within the 25 pages
19   normally allowed. Barvir Decl. ¶ 4. If the Court accepts the State’s entire
20   supplemental brief,1 fairness dictates that Plaintiffs should be afforded the same
21   number of pages to respond to the State’s many arguments. Plaintiffs did not create
22   the circumstance that necessitated this request for relief. And they will face irreparable
23   harm if relief is not granted because they will be denied the ability to counter many of
24   the arguments in the State’s oversized brief.
25
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28         Plaintiffs simultaneously filed a Motion to Strike Defendant’s Oversized
            1

     Supplemental Brief (ECF No. 130).
                                              2
                    MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                        17cv1017
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 1   II.   COUNSEL HAS FULLY COMPLIED WITH THE PROCEDURAL REQUIREMENTS
           GOVERNING EX PARTE MOTIONS IN THE SOUTHERN DISTRICT
 2
 3         Pursuant to Southern District of California Local Rule 83.3(g)(2), Plaintiffs

 4   confirm that they have duly complied with the requirements of Federal Rules of Civil

 5   Procedure, rule 6, and Local Rules 7.1(e)(5) and 83.3(g)(2), for the notice, filing, and

 6   service of ex parte motions. To wit, Plaintiffs’ counsel contacted counsel of record for

 7   Defendant Rob Bonta, Deputy Attorneys General John Echeverria and General Robert

 8   Meyerhoff, via email on November 30, 2022, to give notice that Plaintiffs intended to

 9   file this ex parte application. Barvir Decl. ¶ 2. Plaintiffs’ counsel was subsequently

10   directed to Deputy Attorney General Kevin Kelly because Mr. Meyerhoff is out of the

11   office on leave. Id. Mr. Kelly informed me that his client’s position is that

12   “Local Rule 7.1(h) does not apply to limit the length of the court-ordered briefing,

13   since that rule pertains to briefs ‘in support of or in opposition to motions’ and there is

14   no pertinent motion currently pending before the Court.” Id. ¶ 3. That said, Mr. Kelly

15   indicated that his client would not oppose Plaintiffs’ request for an order extending the

16   page limitation. Id.

17                                       CONCLUSION

18         The Court should grant this request. The Southern District’s Local Rules

19   expressly authorize the requested relief and Plaintiffs have demonstrated good cause.

20
21   Dated: December 1, 2022                        MICHEL & ASSOCIATES, P.C.

22
                                                    s/ Anna M. Barvir
23                                                  Anna M. Barvir
                                                    Email: abarvir@michellawyers.com
24                                                  Attorneys for Plaintiffs
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                     MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                       17cv1017
Case 3:17-cv-01017-BEN-JLB Document 131-1 Filed 12/01/22 PageID.16901 Page 4 of 4



 1                           CERTIFICATE OF SERVICE
                          UNITED STATES DISTRICT COURT
 2
                        SOUTHERN DISTRICT OF CALIFORNIA
 3
     Case Name: Duncan, et al. v. Becerra
 4
     Case No.: 17-cv-1017-BEN-JLB
 5
     IT IS HEREBY CERTIFIED THAT:
 6
 7          I, the undersigned, declare under penalty of perjury that I am a citizen of the
     United States over 18 years of age. My business address is 180 East Ocean Boulevard,
 8
     Suite 200 Long Beach, CA 90802. I am not a party to the above-entitled action.
 9
           I have caused service of the following documents, described as:
10
11     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
     PLAINTIFFS’ EX PARTE APPLICATION FOR ORDER EXTENDING PAGE
12
                             LIMITATION
13
     on the following parties by electronically filing the foregoing on December 1, 2022,
14
     with the Clerk of the District Court using its ECF System, which electronically
15   notifies them.
16
     Rob Bonta
17   Attorney General of California
     Mark R. Beckington
18
     Supervising Deputy Attorney General
19   Kevin J. Kelly
     Deputy Attorney General
20
     300 South Spring Street, Suite 1702
21   Los Angeles, CA 90013
     kevin.kelly@doj.ca.gov
22
23
          I declare under penalty of perjury that the foregoing is true and correct.
24
     Executed on December 1, 2022, at Long Beach, CA.
25
26
                                                         Laura Palmerin
27
28
                                           4
                                 CERTIFICATE OF SERVICE
                                                                                       17cv1017
